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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X                             7/8/2021
                                                             :
ADELAIDO GALEANA et al.,                                     :
                                                             :
                                         Plaintiffs,         :
                                                             :               14-CV-3625 (VSB)
                           -against-                         :
                                                             :                   ORDER
                                                             :
MAHASAN INC. et al.,                                         :
                                                             :
                                         Defendants.         :
                                                             :
                                                             :
----------------------------------------------------------- X

 VERNON S. BRODERICK, United States District Judge:

          I am in receipt of Plaintiffs’ July 7, 2021 filing indicating that Defendant Juntima

 Netprachak is in ongoing Chapter 7 bankruptcy proceedings in the United States District Court for

 the Eastern District of New York. (Doc. 158.) Accordingly, it is hereby:

          ORDERED this case is stayed as to Defendant Netprachak until the conclusion of those

 bankruptcy proceedings.

          IT IS FURTHER ORDERED that Plaintiffs are directed to file a letter 30 days from the

 filing of this Order, and every 30 days after that, to provide an update on the status of the

 aforementioned bankruptcy proceedings.

          IT IS FURTHER ORDERED that Plaintiffs are directed to serve a copy of this Order on

 Defendants at their last known address(es) and then file proof of service on the docket.

 SO ORDERED.

 Dated:            July 8, 2021
                   New York, New York
                                                                 ________________________________
                                                                 Vernon S. Broderick
                                                                 United States District Judge
